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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF ILLINOIS,
                                EASTERN DIVISION

VINCENT THAMES,                                    )
                             Plaintiff,            ) No. 12-cv-9170
       v.                                          )
                                                   ) Hon. Robert M. Dow, Jr.
CITY OF CHICAGO, et al.                            ) Magistrate Judge Sheila Finnegan
                                                   )
                              Defendants.          )

                               STIPULATION TO DISMISS

       IT IS HEREBY STIPULATED AND AGREED by and between the parties hereto, by

their respective attorneys of record, that this matter has been settled as to Plaintiff’s claims

against Defendant City of Chicago and individual Defendants Kenneth Boudreau, Richard

Paladino, James Cassidy, Frank Valadez, Patrick McCafferty and Lawrence Tuider pursuant to

the Release and Settlement Agreement executed by those parties and, therefore, this cause should

be dismissed with prejudice solely as to Plaintiff’s claims against Defendant City of Chicago and

individual Defendants Kenneth Boudreau, Richard Paladino, James Cassidy, Frank Valadez,

Patrick McCafferty and Lawrence Tuider, and with each party bearing its own costs and

attorney’s fees in accordance with the terms of the Release and Settlement Agreement and the

Final Agreed Order of Dismissal. This stipulation shall not affect Plaintiff’s ongoing litigation

against the other Defendants in Plaintiff’s pending case.

Dated: December 15, 2017                                       RESPECTFULLY SUBMITTED,

BY: /s/ Henry E. Turner                                        BY: /s/ Eileen E. Rosen
Henry E. Turner, Attorney for Vincent Thames                   Eileen E. Rosen
Valorem Law Group LLC                                          Special Assistant Corporation Counsel
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(312) 676-5473                                                 James Cassidy, Frank Valadez, Patrick
                                                               McCafferty and Lawrence Tuider
The City of Chicago                                            Rock, Fusco & Connelly, LLC
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Corporation Counsel                                            Chicago, Illinois 60654
Attorney for Defendant City of Chicago                         (312)494-1000
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BY: /s/ Jeffrey N. Given
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                                CERTIFICATE OF SERVICE

      I certify under penalty of perjury that the foregoing is true and correct, pursuant to 28
U.S.C.A. § 1746, and that I electronically filed a complete copy of the foregoing Stipulation to
Dismiss with the Clerk of the Court on Friday, December 15, 2017, using the CM/ECF system,
which will send notification of such filing to the participants listed on the below service lists.

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                                              Respectfully submitted,

                                              /s/ Jeffrey N. Given
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                                              One of the Attorneys for the City of Chicago




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